                          IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                 NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )          No.     2:19-cr-00013
       v.                                       )
                                                )          Chief Judge Crenshaw
                                                )
GEORGIANNA A.M. GIAMPIETRO                      )

            UNITED STATES’ MOTION TO SCHEDULE PRETRIAL HEARING
                           INVOLVING “THE SHEIKH”

       The United States of America, through Mary Jane Stewart, Acting United States Attorney

for the Middle District of Tennessee, by and through Assistant United States Attorneys Kathryn

Risinger and Philip Wehby, and the Chief of the Counterterrorism Section of the National Security

Division, United States Department of Justice, by and through Trial Attorney Jennifer E. Levy,

hereby files this Motion asking the Court to schedule the pretrial hearing involving “the Sheikh”

for Friday, September 24, 2021, from 1:00 p.m. to 5:00 p.m.

                                                    Respectfully Submitted,

                                                    MARY JANE STEWART
                                                    Acting United States Attorney
                                                    Middle District of Tennessee
                                              By: /s/ Kathryn Risinger
                                                  KATHRYN RISINGER
                                                  PHIL WEHBY
                                                  Assistant United States Attorneys
                                                  110 9th Avenue South
                                                  Nashville, Tennessee 37203
                                                  Phone: (615) 736-5151

                                                    /s/ Jennifer E. Levy
                                                    JENNIFER E. LEVY
                                                    Trial Attorney
                                                    Counterterrorism Section
                                                    U.S. Department of Justice
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                                                    Suite 7600
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                                                    (202) 514-1092



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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 14, 2021, a true and correct copy of the foregoing
document was filed electronically via CM/ECF, which will automatically provide service to
Charles Swift and Peter Strianse, counsel for the defendant.

                                                 /s/ Kathryn Risinger
                                                 KATHRYN RISINGER
                                                 Deputy Criminal Chief – Organized Crime




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